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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 DAVARIUS LAVALLE RIGGINS,

          Plaintiff,                                                      ORDER
    v.
                                                                  Case No. 20-cv-947-jdp
 DANE COUNTY JAIL, et al.,

          Defendants.


 DAVARIUS LAVALLE RIGGINS,

          Plaintiff,                                                      ORDER
    v.
                                                                  Case No. 20-cv-971-jdp
 MAHONEY, DAVID, et al.,

          Defendants.


                 Plaintiff Davarius Lavalle Riggins was assessed initial partial payments of $9.46

in each of the above cases. Now plaintiff has filed a letter explaining why he cannot pay the

filing fees, which I will construe as a motion to waive the initial partial filing fees. I will deny

without prejudice plaintiff’s motion for the following reasons.

         In 28 U.S.C. § 1915, Congress has dictated the manner in which prisoners must pay

the fees for filing federal lawsuits and appeals, and I have no discretion to modify this method.

In calculating the amount of plaintiff’s initial partial payment in this case, I used the inmate

account statement plaintiff submitted on October 14, 2020, in support of his for leave to

proceed without prepaying the fee. That inmate account statement shows that plaintiff has

had deposits made to his account, which I was able to calculate plaintiff’s average monthly

deposits to be $9.46 for each case. Accordingly, I will give plaintiff an extension of time until
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November 30, 2020, to submit the $9.46 initial partial payments. If by November 30, plaintiff

is still unable to pay the $9.46 initial partial payments, plaintiff should submit documentation

that shows the efforts that he has taken to request the $9.46 initial partial payments from the

institution business office.




                                             ORDER

IT IS ORDERED that:

1.     Plaintiff Davarius Lavalle Riggins’s motion to waive the initial partial payment in the

above cases, dkt. 4, is DENIED without prejudice.

2.     Plaintiff may have an enlargement of time to November 30, 2020, in which to submit

a check or money order payable to the clerk of court in the amount of $9.46 for each case (or

one check in the amount of $18.92) or to submit an updated inmate account statement.

3.     If, by November 30 2020, plaintiff fails to make the $9.46 initial partial payments, or

to show cause for his failure to do so, plaintiff will be held to have withdrawn that action(s)

voluntarily and the case(s) will be closed without prejudice to plaintiff’s filing the case(s) at a

later date.

               Entered this 5th day of November, 2020.

                                      BY THE COURT:


                                      /s/
                                      PETER OPPENEER
                                      Magistrate Judge




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